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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

United States of America,

         Plaintiff,
                                                    Criminal No.
                                                                        20-20436
                                                    Honorable
V.

Glen Richard Mousseau,                                             Judge Cleland

         Defendant.
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               DEFENDANT'S ACKNOWLEDGMENT OF INFORMATION

     I, Glen Richard Mousseau, defendant in this case, hereby acknowledge that I have received a

copy of the Information before entering my plea, and that I have read it and understand its

contents. I lmow that ifl am convicted or plead guilty, I may be sentenced as follows:

Count One: 5 years' imprisonment and a max;imum fine of$250 0
Count Two: 20 years' imprisonment and a maximum fine of$1,0i       0
Count Three: 5 years' imprisonment and a maximum fine of$2� ,O�
Count Four: 20 years' imprisonment and a ma)£imum fine of$2'50 600


                                                   Gl�  chard Mousseau
                                                    Hen ant
                                                  ;
                      ACKNOWLEDGMENT OF DEFENSE COUNSEL

    I aclmowledge that I am counsel for defendant and that I have received a copy of the
Standing Order for Discovery and Inspection, which requires all r -trial motions to be filed
within twenty (20) days of anaignment.


                                                     Victor Mansour
Dated:    f/1� /PDcJ-;)                              Counsel for Defendant
